Case 5:21-cv-00844-XR Document 747-11 Filed 09/01/23 Page 1 of 3

Instances of Suspected Meal voting since March 1,2018-Cases Opened

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